Case 1:21-cr-00175-TJK Document 110-2 Filed 07/06/21 Page 1of3

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Extraction Report - Apple iOS Full File system

 

Chats (2)

Telegram (2)

Native (2)

 

Start Time: 1/30/2021 5:33:02 AM(UTC-8)

Last Activity: 2/1/2021 6:10:11 AM(UTC-8)

Number of attachments: 0

Source: Telegram

Source file: €577462c3126fd61 17 148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237 A30D0-FE61-
47D7-84D1-511A2D9881 FB/telegram-data/account-8 13828 1883 108468013/postbox/db/db_ sqlite : 0x1C940167 (Size: 873086976 bytes)

Body file: chat-1 txt
Participants:

 

586406520
YutYut Cowabunga

573782641
Rufio Panman (owner)

 

Identifier: 586406520

 

 

 

 

 

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